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                                                 Application GRANTED. Defendant shall answer, move or
                                                 otherwise respond to the Complaint by December 19, 2022. The
                                                 parties are apprised that under the Court's Individual Rules, any
November 21, 2022
                                                 future requests for an extension of a deadline must be made no
                                                 later than two business days before the relevant deadline.
VIA ECF
                                       The initial pre-trial conference is ADJOURNED to January 4,
                                       2023, at 4:10 p.m. The conference will be telephonic and will
The Honorable Judge Lorna G. Schofield
United States District Judge           take place on the following line: 888-363-4749; access code
Southern District of New York          558-3333. The parties shall submit the joint letter and proposed
40 Foley Square                        case management plan by December 28, 2022. So Ordered.
New York, New York 10007
                                                                                  Dated: November 22, 2022
Re:      Dicks v. Everyday Health, Inc. d/b/a BabyCenter, LLC, Case No. 1:22-cv-07875-LGS
                                                                                          New York, New York


Dear Judge Schofield:

We represent Defendant Everyday Health, Inc. d/b/a BabyCenter, LLC (“Defendant”) in the above-
referenced matter. We respectfully move the Court to extend Defendant’s deadline to answer, move, or
otherwise respond to the Plaintiff’s Complaint from November 18, 2022 to December 19, 2022.

Defendant’s counsel was just retained. Plaintiff’s counsel has consented to this extension, which will permit
Defendant’s counsel to investigate and the parties to communicate regarding Plaintiff’s allegations. There
have been no prior extensions.




                                                                     Respectfully submitted,



                                                                     /s/ Karla Del Pozo García
                                                                     Karla Del Pozo García


cc:     All counsel of record (by ECF)




Sirote ► Adepetun Caxton-Martins Agbor & Segun ► Davis Brown ► East African Law Chambers ► Eric Silwamba, Jalasi and Linyama ►
Durham Jones & Pinegar ► LEAD Advogados ► Rattagan Macchiavello Arocena ► Jiménez de Aréchaga, Viana & Brause ► Lee International ►
Kensington Swan ► Bingham Greenebaum ► Cohen & Grigsby ► Sayarh & Menjra ► For more information on the firms that have come together
to form Dentons, go to dentons.com/legacyfirms
